Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 1 of 7 PageID 252



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA

vs.                                                   2:06-cr-4-FtM-99SPC

ELEX PIERRE
EXUIS LOUIS
JOSEPH JOHNSON
YOUWUS VILPRE
JIMMY LOUISUIS
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on Defendant Exuis Louis’

Motion For Severance of Defendant (Doc. #89), filed on July 12,

2006. The Government’s Response In Opposition (Doc. #96) was filed

on July 24, 2006.     Defendant Exuis Louis seeks a severance because

the evidence against the other co-defendant’s is stronger than

against him; he was in jail for part of the alleged conspiracy and

therefore is totally unconnected to events occurring during that

time frame; a joint trial would result in guilt by association;

there are probable antagonistic defenses with his co-defendants;

and in a joint trial he will be unable to call his co-defendants as

witnesses in his behalf.

      There is a two-step inquiry to determine whether charges may

be properly tried at the same time:          First, the government must

demonstrate that the initial joinder of the offenses was proper

under Rule 8.     Second, the Court must exercise its discretion in

determining whether a severance should nonetheless be granted under
Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 2 of 7 PageID 253



Rule 14.    United States v. Gabay, 923 F.2d 1536, 1539 (11th Cir.

1991); United States v. Montes-Cardenas, 746 F.2d 771, 776 (11th

Cir. 1984).

      The   joinder   of   multiple   defendants   in   an   indictment is

governed by Fed. R. Crim. P. 8(b), which provides:

            Two or more defendants may be charged in the
            same indictment or information if they are
            alleged to have participated in the same act
            or transaction or in the same series of acts
            or transactions constituting an offense or
            offenses. Such defendants may be charged in
            one or more counts together or separately and
            all of the defendants need not be charged in
            each count.

Joinder of defendants under Rule 8(b) is a question of law.          United

States v. Dominguez, 226 F.3d 1235, 1238 (11th Cir. 2000); United

States v. Wilson, 894 F.2d 1245, 1252-53 (11th Cir. 1990), cert.

denied sub nom. Levine v. United States, 497 U.S. 1029 (1990);

United States v. Morales, 868 F.2d 1562, 1567 (11th Cir. 1989).

Rule 8(b) is designed to promote judicial economy and efficiency,

and the rule is broadly construed in favor of initial joinder.

Dominguez, 226 F.3d at 1238; United States v. Weaver, 905 F.2d

1466, 1476 (11th Cir. 1990), cert. denied sub nom. Sikes v. United

States, 498 U.S. 1091 (1991).       The general rule is that defendants

who are jointly indicted should be tried together.           United States

v. Cross, 928 F.2d 1030, 1037 (11th Cir. 1991), cert. denied 502

U.S. 985 (1991); United States v. Perez-Garcia, 904 F.2d 1534, 1547

(11th Cir. 1990).     Absent allegations of bad faith, the question of

whether initial joinder is proper is determined by an examination
Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 3 of 7 PageID 254



of the allegations stated on the face of the indictment.               Weaver,

905 F.2d at 1476; Morales, 868 F.2d at 1567-68.

      Joinder is proper when “the facts underlying each offense are

so closely connected that proof of such facts is necessary to

establish each offense”.        Weaver, 905 F.2d at 1477 (quoting United

States v. Nettles, 570 F.2d 547, 551 (5th Cir. 1978)).           In Morales,

the Court noted that the government must demonstrate that “the acts

alleged are united by some substantial identity of facts and/or

participants.”      868 F.2d at 1569.     Under this standard, however,

each defendant need not have been involved in every phase of the

venture      or   even   know   the   roles   and   identities    of     other

participants.      Wilson, 894 F.2d at 1253.

      Even if initial joinder is proper, however, severance may be

granted under Rule 14.1          Morales, 868 F.2d at 1568.            As the

Eleventh Circuit said in United States v. Bryan:

      Although the remedy for misjoinder under Rule 8(b) and
      prejudicial joinder under Rule 14 is the same - severance
      and separate trials - the two rules are analytically and
      procedurally distinct. A motion for severance based on
      misjoinder under Rule 8 alleges an error in the
      indictment, and severance must be granted if the
      defendants were improperly joined. Rule 14 comes into

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          Fed. R. Crim. P. 14 provides in pertinent part:

              If it appears that a defendant or the
              government is prejudiced by a joinder of
              offenses or of defendant in an indictment or
              information or by such joinder for trial
              together, the court may order an election or
              separate trials of counts, grant a severance
              of defendants or provide whatever other relief
              justice requires.
Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 4 of 7 PageID 255



      play only if joinder was initially proper under Rule 8
      but a joint trial would prejudice one or more defendants.
      It is addressed to the discretion of the trial judge.

843 F.2d 1339, 1342 (11th Cir. 1988)(quoting United States v.

Williams, 711 F.2d 748 (6th Cir. 1983), cert. denied 464 U.S. 986

(1983)).

      Defendant does not contend that initial joinder was improper,

but asserts that severance is appropriate under Fed. R. Crim. P.

14.   Zafiro v.    United States, 506 U.S. 534, 538 (1993); Morales,

868 F.2d at 1568.     Such a motion is addressed to the discretion of

the court, and a trial court must balance the prejudice a defendant

may suffer from a joint trial against the public interest in

judicial economy and efficiency.         United States v. Lehder-Rivas,

955 F.2d 1510, 1521 (11th Cir. 1992); United States v. Eyster, 948

F.2d 1196, 1213 (11th Cir. 1991); Cross, 928 F.2d at 1037.                 A

severance may be granted only if a joint trial will result in

specific and compelling prejudice.         Eyster, 948 F.2d at 1213-14.

“Compelling prejudice” has been held to mean that a jury will not

be able to collate and appraise the evidence against each defendant

independently.     United States v. Nixon, 918 F.2d 895, 906 (11th

Cir. 1990).       A defendant does not suffer compelling prejudice

simply because much of the evidence at trial is applicable only to

a co-defendant.      United States v. Francis, 131 F.3d 1452, 1459

(11th Cir. 1997); United States v. Smith, 918 F.2d 1501, 1510 (11th

Cir. 1990).     Similarly, a severance is not justified because a



                                     4
Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 5 of 7 PageID 256



defendant may stand a better chance of acquittal in a separate

trial or the evidence is stronger against a co-defendant.                Cross,

928 F.2d at 1037, n.21.            There is a legal presumption that

cautionary instructions to the jury to consider the evidence

separately as to each defendant will be adequate to guard against

prejudice.     United States v. Leavitt, 878 F.2d 1329, 1340 (11th

Cir. 1989), cert. denied sub nom. Garces v. United States, 493 U.S.

968 (1989).

      The   Court   finds   that   no       compelling    prejudice   has   been

demonstrated at this point in the case.            Defendant has not made a

sufficient claim of antagonistic defenses.               He has not identified

any specific defenses or discussed how and why they would be so

inconsistent as to require severance.               Defendant has not even

alleged that he has such inconsistent defenses, only that it is

“entirely probably” that       defenses will be of an antagonistic

nature.      Separate   defenses    among       defendants    do   not   require

severance unless “the jury, in order to believe the core of

testimony offered on behalf of [a] defendant must necessarily

disbelieve the testimony offered on behalf of his co-defendant.”

United States v. Garate-Vergara, 942 F.2d 1543, 1552 (11th Cir.

1991)(internal quotation marks and citation omitted).                 Defendant

has not shown that the defenses will be irreconcilable or mutually

exclusive at this point.

      Defendant also alleges that severance is warranted because he



                                        5
Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 6 of 7 PageID 257



may be unable to cross-examine co-defendants, and consequently, he

is denied the right of confrontation.          (Doc. #89, p. 4, ¶ 13.)       In

order to obtain a severance based on a desire for a co-defendant’s

testimony, a defendant must demonstrate:

       (1) a bona fide need for the codefendant’s testimony; (2)
       the substance of the testimony; (3) the exculpatory
       nature and effect of the testimony; and (4) that the
       codefendant will actually testify.”

Leavitt, 878 F.2d at 1340.      The Court finds that defendant has not

made the requisite showing to be entitled to severance.                In his

motion, defendant asserts that “[i]t is anticipated that the co-

defendants will point the finger at either each other or Exuis

Louis as being totally responsible for the alleged crime and

defendant never made it into such apartment on July 29, 2005 before

being arrested.”       (Doc. #89, p. 4, ¶ 14.)               Aside from this

statement, defendant has not demonstrated that he satisfied any of

the requirements for severance based on this ground.                   If any

defendants testify at a joint trial, counsel will of course have

the opportunity to cross-examine him.

       Because no specific compelling prejudice has been demonstrated

by defendant, the Court concludes that the motion is due to be

denied.      The Court notes that there is no prohibition against

defendants renewing their Rule 14 motions for severance at a future

date if additional facts or circumstances are developed which may

demonstrate compelling prejudice.          United States v. Benz, 740 F.2d

903,   913   (11th   Cir.   1984);   see    e.g.,   United    States   v.   Van

                                      6
Case 2:06-cr-00004-JES-NPM Document 115 Filed 08/09/06 Page 7 of 7 PageID 258



Hemelryck, 945 F.2d 1493, 1500 (11th Cir. 1991)(after initially

denying the motions for severance, the trial court ultimately

revisited the question of severance and severed out two of the co-

defendants).

      Accordingly, it is now

      ORDERED

      Defendant Exuis Louis’ Motion For Severance of Defendant (Doc.

#89) is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this           9th    day of

August, 2006.




Copies:
Counsel of Record




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